Case 2:04-cV-02636-.]DB-tmp Document 24 Filed 08/01/05 Page 1 of 3 Page|D 23

 

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IN THE UNITED STATES DlSTRICT C()URT

FOR THE WESTERN I)ISTRICT OF TENNESSEES AUG __| AH H- 00
WESTERN DIVISION

 

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JoHN MCGRAIL, 111901.111..111»1111$

Plaintif`f,
v. No. 04-CV-2636 B/P

METROPOLITAN LIFE lNSURANCE
COMPANY,

Defendant.

 

CONSENT ORDER OF DlSMISSAL WITH PREJUDICE

 

The parties have advised the Court that they have reached an agreement resolving all matters
at dispute in this litigation Accordingly, IT lS HEREBY ORDERED, ADJUDGED AND
DECREED that the case is dismissed with prejudice Each party shall bear its own attorney's fees

and costs, and no discretionary costs shall be sought or awarded

IBM

MIEL BREEN
Ad States District Court lodge

Date; 41.0_` 3 lf'?»OO\/'

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Case 2:O4-cV-O2636-.]DB-tmp Document 24 Filed 08/01/05 Page 2 of 3 Page|D 24

APPROVED;

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CERTIFICATE OF SERVICE

l certify that a true and correct copy ofthe foregoing proposed order has been mailed to
JustinS Gilbert, Esq., Gilbert&Russell PLC 2021 Greystone Parl< P. O Box 11357, Jacl<son, TN
38308 by United States Mail postage prepaid this 357 day ot`July 2005

FiWV`YD,/QWW

Kenneth P Jones

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02636 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

